






Opinion issued September 11, 2003









In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-03-00503-CV

____________


MICHAEL OGDEN &amp; ALL OCCUPANTS, Appellant


V.


2700 ELLA L.L.P., D/B/A 1ST INTERNATIONAL MORTGAGE, Appellee






On Appeal from the County Civil Court at Law No. 4

Harris County, Texas

Trial Court Cause No. 783989






MEMORANDUM OPINION

	The appellant has filed a  motion to dismiss his appeal.  No opinion has issued. 
Accordingly, the motion is granted, and the appeal is dismissed.  Tex. R. App. P.
42.1(a)(1).

	All other pending motions in this appeal are overruled as moot.  The Clerk is
directed to issue mandate within 10 days of the date of this opinion.  Tex. R. App. P.
18.1.

PER CURIAM

Panel consists of Justices Hedges, Nuchia, and Hanks.


